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                 Exhibit 8
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     CHART COMPARING DR. BLAKE GOPNIK’S EXPERT REPORT AND DEPOSITION WITH HIS DECLARATION

                                Excerpts from the September 1, 2022 Expert
                                                                              Excerpts from the October 21, 2022 Declaration
             Topic              Report 1 and September 23, 2022 Deposition
                                                                                           of Dr. Blake Gopnik 3
                                           of Dr. Blake Gopnik 2
    Rothschild’s relationship Mark Berden is not discussed in the report.     I note that such interaction is very much revealed in
    with Mark Berden                                                          Mr. Berden and Mr. Rothschild’s discussion of
                              Horse charm is not discussed in the report or   their (rather comic and clever, I think) planning for
    Plans for a fur-covered   deposition.                                     a possible image of a fur-covered “horse charm” to
    “horse charm”                                                             add to their image of the fur-covered Birkin,
                              Rocabar/horse blanket is not discussed in the   thereby mimicking the (rather silly and cheesy, I
    Other products from       report or the deposition.                       think) association of actual Birkin bags with
    Hermès                                                                    Hermès’s own “horse charms,” provided by the
                                                                              company to clients most of whom have never been
                                                                              within a bridle’s length of a horse. Working with
                                                                              Mr. Berden as his technician/consultant, Mr.
                                                                              Rothschild considers completing his satirical
                                                                              depiction of Birkin bags, as deluxe commodities,
                                                                              by imagining a kind of fictional situation in which
                                                                              the fur on his “MetaBirkins” seems to spread,
                                                                              almost contagiously, even to the horse charms that
                                                                              might come with them. The more elements Mr.
                                                                              Rothschild appropriates from the Hermès
                                                                              repertoire, the more effective and complete his
                                                                              artistic comment on the brand, and all such
                                                                              branding, would be. (Had I been engaged as an art-
                                                                              critical consultant on the “MetaBirkins” project, I


1
  Oct. 7, 2022 Decl. of Megan A. Corrigan, Ex. 34 (ECF No. 73-14).
2
  Oct. 7, 2022 Decl. of Megan A. Corrigan, Ex. 43 (ECF No. 73-18); Oct. 21, 2022 Suppl. Decl. of Megan A. Corrigan, Ex. 135 (ECF
No. 85-6); Oct. 28, 2022 Decl. of Lisa Bollinger Gehman, Ex. 10.
3
  Oct. 21, 2022 Decl. of Dr. Blake Gopnik (ECF No. 80).
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                            Excerpts from the September 1, 2022 Expert
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                                       of Dr. Blake Gopnik 2
                                                                            would have suggested that Mr. Rothschild also
                                                                            create a furry version of the $700 Rocabar “horse
                                                                            blanket” (so-called) that Hermès has made almost
                                                                            as famous as its Birkin bags. Had Mr. Rothschild
                                                                            accepted my suggestion, he would not thereby have
                                                                            relinquished his role as the true artist of the
                                                                            “Metabirkins” project.) (Gopnik Decl. at ¶ 15)
                                                                            (ECF No. 80).

“Whales,” “sweeping the Whales, sweeping the floor, and shill are not       I would also like to state that much of the material
floor,” and “shill”     discussed in the expert report or the deposition.   presented in Plaintiffs’ Rule 56.1 Statement of
                                                                            Material Facts, in which Mr. Rothschild is shown
Mercantile aggression      I'm not an NFT expert let alone a blockchain     discussing how he might sell and profit from his
                           expert.” (See Oct. 28, 2022 Decl. of Lisa B.     “MetaBirkins” artworks—by trying to engage the
                           Gehman (“Gehman Decl.”), Ex. 10 at 220:4-5.)     interest of “whales,” for instance, or by “sweeping
                                                                            the floor” and getting influential buyers to “shill”
                           “I am not an expert on the metaverse. I have     for him—indicates that Mr. Rothschild was acting
                           some knowledge of it. (Gehman Decl., Ex. 10 at   as a perfectly normal emerging artist trying to
                           189:7-8.)                                        maximize income, in the knowledge that it might
                                                                            very well evaporate later, as so often happens. It is
                                                                            worth mentioning that the mercantile aggression
                                                                            evident in some of Mr. Rothschild’s
                                                                            communications, which Plaintiffs seem to portray
                                                                            as egregious and in some way “un-artistic,” is
                                                                            normal in the very rough-and-tumble culture of
                                                                            NFTs, where the politesse that prevails in galleries
                                                                            and auction houses — or at least in their public
                                                                            spaces — is deliberately avoided, and where
                                                                            evidently financial ambitions and concerns are
                                                                            expressed openly, despite the artistic values that are


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                             Excerpts from the September 1, 2022 Expert
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                                                                                           of Dr. Blake Gopnik 3
                                        of Dr. Blake Gopnik 2
                                                                              also very clearly in play. (Gopnik Decl. at ¶ 17)
                                                                              (ECF No. 80).

The “MetaBirkins” title     Topic of how Rothschild sought input on the      The concerns that Plaintiffs have expressed
                            naming of MetaBirkins was not in the report.     concerning the titling of Mr. Rothschild’s
Warhol openly asking                                                         “MetaBirkins” are also misplaced. When Mr.
for suggestions on all      Q. Did [Andy Warhol] have a name for his         Rothschild sought input from others in choosing his
aspects of his art          studio?                                          title, he was acting as any fine artist might,
                                                                             involving his social circle in his acts of creation.
“The Factory”               A. No.                                           Like many, many artists over the last 500 years,
                                                                             Andy Warhol himself is well known to have openly
                            Q. Did he operate something called The Factory? asked those around him for suggestions on all
                                                                             aspects of his art, and to have used their
                            A. No.
                                                                             suggestions with enthusiasm — and without
                            Q. In popular cultural is it believed that Andy  thereby diminishing his own artistic status. In
                            Warhol operated something called The Factory? particular, there is good evidence that one of
                                                                             Warhol’s most famous creations, the loft where he
                            A. That is one of many misconceptions about      gathered his famous crew of Superstars, was only
                            Andy Warhol's studios, plural.                   given its title, “The Factory,” in consultation with
                                                                             his assistants and friends. (Gopnik Decl. at ¶ 10)
                            Q. Did he ever use the term "factory" as part of (ECF No. 80).
                            his operations?

                            A. He absolute did, yes.

                            Q. What did The Factory refer to?

                            A. The Factory referred to one particular space
                            on 47th Street -- well, I'm sorry, I'm wrong.
                            Andy Warhol tended to use the phrase "the


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                     Excerpts from the September 1, 2022 Expert
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                    factory" to refer to a space on 47th Street at --
                    between Third and Second Avenue that was
                    occupied between mid to late January of 1964
                    and I believe January 1st of 1968. I can give you
                    the measurements of the space if you'd like. The
                    public uses the phrase "The Factory" in many
                    ways, including many that are incorrect. Andy
                    Warhol actually objected to some uses of the
                    phrase "The Factory" to refer to his studio.

                    Q. How did Andy Warhol use the space on 47th
                    Street that you just described?

                    A. He used it to make art. It was his studio, I'm
                    sorry.

                    Q. And did he refer to the studio as The
                    Factory?

                    A. On some occasions he did.

                    (Gehman Decl., Ex. 10 at 227:11-228:18.)

“NFT art”           Using the language of the Kominers report, you       Plaintiffs present an even more egregious distortion
                    could say that, as an artist, Rothschild             of my position in the following assertion: “Dr.
Digital art         deliberately rejects the restricted world of “art-   Gopnik admits that ‘ “NFT art” simply does not
                    only” NFTs (I have argued in the Times that its      exist.’ He explains that the image contained in a
                    artistic potential is close to non-existent)         video file associated with any NFT, including the
                                                                         METABIRKINS NFTs is not art.” In my New
                                                                         York Times article from which Plaintiffs have


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           Excerpts from the September 1, 2022 Expert
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                      of Dr. Blake Gopnik 2
          (Corrigan Decl., Ex. 34 at ¶ 22) (ECF No. 73-       extracted the direct quote in that assertion, the
          14).                                                whole point is that the digital entities we normally
                                                              refer to as “NFT art” don’t deserve that name
          There are certain activities that are all about     specifically because they are so very obviously the
          owning certain objects that for whatever bizarre same kind of digital art that we have known for
          reason the -- a group of people in the culture      decades. That is, if they are not “NFT art” it is by
          think is valuable, so stamps or baseball cards or   virtue of their being precisely the same as digital art
          in some cases great old master paintings.           that doesn’t bear the title “NFT”— contra
          (Gehman Decl., Ex. 10 at 155:14-18; (Gehman         Plaintiffs, my position is that NFTs, as commonly
          Decl., Ex. 192.)                                    understood, are very much art, of a relatively
                                                              traditional kind. This is because most image-based
          At the moment that they're collectibles, they're    NFTs (those are the ones the public normally has in
          not art, which is why I mentioned great old         mind in discussions of art) have almost no meaning
          master paintings. If you're collecting them in      at all apart from the quite traditional digital images
          order to check a box and say, I own X, then in      to which they are attached. I made my views on the
          fact they're not functioning as art at that moment. artistic status of NFTs, and their images, very clear
          (Gehman Decl., Ex. 10 at 155:20-25.)                when I was questioned at length on the topic by
                                                              Plaintiffs’ counsel during my sworn deposition;
          Q. And why is the concept NFT art incoherent?       those views were grossly distorted in Plaintiffs’
                                                              Motion. (Gopnik Decl. at ¶ 5) (ECF No. 80).
          A. Because, as with all concepts, it's used in a
          particular way. People refer to NFT art when
          what they really mean is the image that the NFT
          is attached to. When people talk about NFTs
          having certain artistic qualities, they are really
          talking about the qualities of an image, except in
          certain business art cases where the NFT itself is
          playing a role and the NFTness is playing an




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          artistic role. (Corrigan Decl., Ex. 43 at 180:11-
          19) (ECF No. 73-18.)

          Q. Are the MetaBirkin NFTs, the MetaBirkins
          NFTs, the actual NFTs, business art?

          A. They do seem to function as that, yes. That's
          the argument of my report.

          Q. How do the MetaBirkins NFTs function as
          business art?

          A. By virtue of participating in the world of
          business and deluxe commodities, commenting
          on it, seeming to refer to it and also to have some
          distance from it. I'm trying to think. It's late in
          the day for me to do sophisticated art criticism.
          They have various markers that show them
          interacting with that world but also having a
          certain distance from that world. Those are
          hallmarks of business art. They seem to also,
          very importantly, be continuous with other
          works in the history of business art in the
          twentieth century. They seem to live naturally
          and participate in dialogue with those other
          works. In particular their pop art qualities make
          you think immediately of Warhol and his legacy.




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                          Q. Is the fact that MetaBirkins were traded and
                          what that trading means part of their status as
                          business art?

                          A. Yes, I would say they are. The one -- one --
                          not the only one but one component in business
                          art is the way in which it actually participates in
                          the financial world, just like the investors, the
                          artists who invest in money as a form of art as an
                          artistic medium in the late 1960s. That can be
                          one component in business art.

                          (Gehman Decl., Ex. 10 at 201:6-202:15.)

The NFT and the image     Rothschild's "MetaBirkins" are likewise more          Plaintiffs’ suggestion that Mr. Rothschild should be
                          notable for their cultural presence as a collection   conceived as trading in NFTs that exist
“Bored Apes” NFT          of works for sale than for their virtues as           independently of their images is simply
                          individual aesthetic objects. (Corrigan Decl., Ex     meaningless and incoherent. Specifically image-
                          34 at ¶ 30) (ECF No. 73-14).                          based NFTs such as Mr. Rothschild’s get most of
                                                                                their meaning and identity, and their monetary
                          As I argued in a lengthy recent treatment of          value (if any) from the digital images which they
                          NFTs, commissioned from me by the New York            certify and to which they point—any “utilities” that
                          Times, these blockchain tokens themselves don’t       they also carry are normally added to increase the
                          have any real aesthetic value, since they are         initial interest generated by those images, not to
                          nothing more than certificates of authenticity        render the images irrelevant. Just as the deed to a
                          that can be attached to any kind of art object at     house, or the certificate of ownership for a painting,
                          all, regardless of its appearance.17 Where they       would be essentially meaningless and valueless if
                          do truly take their place in art history, I           the house or painting were destroyed or
                          explained, is within the Business Art tradition,      fundamentally altered, so an image-based NFT
                          where the fact that they get traded, and what that    without its image would have almost no meaning or


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           Excerpts from the September 1, 2022 Expert
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                      of Dr. Blake Gopnik 2
          trading means, are vital to their cultural power. worth. It acquires meaning and worth by virtue of
          (Corrigan Decl., Ex 34 at ¶ 13) (ECF No. 73-14). the specific image to which it is attached. To give
                                                            just one example, the value (cultural and monetary)
          For example, the central interest in the rather   that a buyer attaches to the most famous of all
          banal digital images of the famous NFTer known NFTs, the so-called “Bored Apes,” varies very
          as Pak comes from the way they are offered to     much depending on the appeal of any particular
          the public for just minutes at a time, with the   Ape image to that buyer. (Of course, just as in
          total number you buy affecting the kind of        traditional fine art, other factors—of scarcity,
          NFT’d image you get. The central interest in      provenance, date of production, potential contact or
          Rothschild’s “MetaBirkins” NFTs similarly         friendship with the maker—also affect a buyer’s
          comes from their place as high-priced             judgments of value.) (Gopnik Decl. at ¶ 6) (ECF
          commodities in the immaterial blockchain          No. 80).
          economy, and how that closely echoes the place
          that Hermès’s Birkin bags take up in the real
          world of material goods and that Kominer’s so-
          called “digital brands” take up in the world of
          NFTs. (Corrigan Decl., Ex 34 at ¶ 33.)

          Images are visual objects with qualities. They
          could be produced as JPEGs, in which case
          they'd be digital, in fact, digital files. But they
          have visual instantiation. They could be crayon
          drawings. They could be any number of things.
          NFTs are non-fungible tokens, a particular kind
          of digital object on the blockchain. It's really --
          they can be contracts. They have varied states of
          existence, but they're really a digital-only kind of
          phenomenon that's specific to the blockchain.
          They can do all sorts of different work, so it's
          hard to specify what an NFT is. They can do --


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                          Excerpts from the September 1, 2022 Expert
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                          have various relationships to different kinds of
                          objects or none at all.

                          Q. Is the image distinct from the NFT?

                          A. Yes.

                          (Gehman Decl., Ex. 10 at 178:13-179:6.)



“[T]he cultural           Once the avant-garde had declared the death of       My expert report, as quoted by Plaintiffs, notes that
disturbance caused by     the traditional media of painting and sculpture—     “the cultural disturbance caused by Mason
Mason Rothschild’s        in part because any aesthetic dividends they paid    Rothschild’s ‘METABIRKINS’— including to the
‘MetaBirkins’ –           seemed to have been swamped by their financial       Hermès company — indicates that they are
including to the Hermès   returns—business itself seemed to be the art         exploring similar terrain.” Let me state clearly that
company — indicates       supply most likely to cast light on the              in the original context of that report, the “they” in
that they are exploring   commercialized world that surrounds us. The          my sentence very evidently refers to the
similar terrain”          more that art might be confused with commerce,       “MetaBirkins” themselves, which, as I explain, are
                          the more likely it was to have impact as truly       exploring similar terrain to the avant-garde
                          novel and significant art that might puzzle and      artworks involved in Business Art, which I had
                          disturb. The cultural disturbance caused by          invoked two sentences earlier. Plaintiffs incorrectly
                          Mason Rothschild’s “MetaBirkins”—including           suggest instead that I meant that Mr. Rothschild’s
                          to the Hermès company—indicates that they are        “MetaBirkins” and the Hermès company are
                          exploring similar terrain. By participating in the   exploring similar terrain; this could hardly be
                          world of digital brands, home to Hermès and          further from the truth, since Hermès is involved in
                          other high-end commodities, Rothschild gets to       the production and sale of luxury goods while Mr.
                          probe how fine art and branding might interact in    Rothschild’s “MetaBirkins” are works of Business
                          the 21st century. Using the language of the          Art that comment on such production and sale.
                          Kominers report, you could say that, as an artist,   (And let me note Plaintiffs’ alteration of my


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                   Excerpts from the September 1, 2022 Expert
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                   Rothschild deliberately rejects the restricted       original quote, capitalizing all the letters in the
                   world of “art-only” NFTs (I have argued in the       word “MetaBirkins” that I had merely put between
                   Times that its artistic potential is close to non-   quotation marks, as one would with any artwork’s
                   existent)11 and instead ventures into the world      title. Plaintiffs no doubt deployed the all- capped
                   of “digital- brand” NFTs that seems to have real     form METABIRKINS to make that title look more
                   leverage on our current reality. Rothschild’s art    like a trademark as used in commerce, in support of
                   would have far less significance if it had not       their claims on that topic which my evidence
                   crossed over into Hermès-style branding. As          otherwise undermines.) (Gopnik Decl. at ¶ 4) (ECF
                   discussed below, almost the only artistic            No. 80).
                   potential of NFTs comes from their contacts
                   with novel marketing—that is, their potential lies
                   in their success as Business Art. And to be
                   successful as Business Art, Rothschild’s work
                   needs to have the closest of connections with
                   visibly successful business. (Corrigan Decl., Ex
                   34 at ¶ 22.)

                   This provision of the report was not raised in
                   deposition.

“NFT art”          Once the avant-garde had declared the death of       And again contra Plaintiffs, I certainly do not
                   the traditional media of painting and sculpture—     believe, and have never stated, that the digital
                   in part because any aesthetic dividends they paid    images with which NFTs are associated are not art.
                   seemed to have been swamped by their financial       For several decades I have been well known as one
                   returns—business itself seemed to be the art         of the more ardent supporters of digital artworks, of
                   supply most likely to cast light on the              many kinds—that is, of artworks in the same media
                   commercialized world that surrounds us. The          as the images with which NFTs are most
                   more that art might be confused with commerce,       commonly associated. Whether or not such digital
                   the more likely it was to have impact as truly       artworks come associated with NFTs does not
                   novel and significant art that might puzzle and      affect their status as works of art or my opinion of


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           Excerpts from the September 1, 2022 Expert
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                                                                             of Dr. Blake Gopnik 3
                      of Dr. Blake Gopnik 2
           disturb. The cultural disturbance caused by          them as such. (Although I have, of course,
           Mason Rothschild’s “MetaBirkins”—including           criticized bad examples of digital art, of which
           to the Hermès company—indicates that they are        there are probably no more — but also no less —
           exploring similar terrain. By participating in the   than there are bad examples of painting and
           world of digital brands, home to Hermès and          sculpture.) Plaintiffs simply made up my rejection
           other high-end commodities, Rothschild gets to       of digital art to suit the convenience of Plaintiffs’
           probe how fine art and branding might interact in    argument. (Gopnik Decl. at ¶ 7) (ECF No. 80).
           the 21st century. Using the language of the
           Kominers report, you could say that, as an artist,
           Rothschild deliberately rejects the restricted
           world of “art-only” NFTs (I have argued in the
           Times that its artistic potential is close to non-
           existent) and instead ventures into the world of
           “digital- brand” NFTs that seems to have real
           leverage on our current reality. Rothschild’s art
           would have far less significance if it had not
           crossed over into Hermès-style branding. As
           discussed below, almost the only artistic
           potential of NFTs comes from their contacts
           with novel marketing—that is, their potential lies
           in their success as Business Art. And to be
           successful as Business Art, Rothschild’s work
           needs to have the closest of connections with
           visibly successful business. (Corrigan Decl., Ex
           34 at ¶ 22.)

           For example, the central interest in the rather
           banal digital images of the famous NFTer known
           as Pak comes from the way they are offered to
           the public for just minutes at a time, with the


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           total number you buy affecting the kind of
           NFT’d image you get. The central interest in
           Rothschild’s “MetaBirkins” NFTs similarly
           comes from their place as high-priced
           commodities in the immaterial blockchain
           economy, and how that closely echoes the place
           that Hermès’s Birkin bags take up in the real
           world of material goods and that Kominer’s so-
           called “digital brands” take up in the world of
           NFTs. (Corrigan Decl., Ex 34 at ¶ 33.)

           But of course Rothschild’s full title,
           “MetaBirkins,” adds to the Birkins that it
           describes as his subject, just as his artwork goes
           beyond a simple realist depiction of the Hermès
           bags. Rothschild himself has said that one thing
           he has in mind, in his artistic experimentation, is
           to transfer the Birkin bag, with all its real-world
           cultural baggage, into a digital world where
           virtuality reigns—that is, into what is often
           called the “metaverse.” The “meta” in the title
           “MetaBirkins” flags that attempt, and helps to
           make clear at least one aspect of Rothschild’s
           larger project: It tells us to consider the bag we
           see in Rothschild’s NFT as a new kind of elite
           metaversal commodity. Rothschild’s art asks us
           to imagine the “Metabirkin” as the kind of
           deluxe Hermès bag a MetaKardashian might
           carry, in the virtual reality we will all inhabit—at
           least if Mark Zuckerberg has his way. That lends


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           Excerpts from the September 1, 2022 Expert
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           a speculative quality to Rothschild’s work that
           aligns it with certain kinds of literary science
           fiction, where current cultural trends and goods
           are extrapolated into the future. (Corrigan Decl.,
           Ex 34 at ¶ 37.)

           Q. Let me start that question again. Referring to
           page 11, the sentence that begins on the third
           line. “Using the language of [Kominers] report,
           you could say that as an artist Rothschild
           deliberately rejects the restricted world of art-
           only NFTs. I have argued in The Times that its
           artistic potential is close to nonexistent and
           instead ventures into the world of digital brand
           NFTs that seems to have real leverage in our
           current reality.” In this sentence are you
           adopting the categories of art-only NFTs and
           digital brand NFTs?

           A. Quite the opposite. By using the phrase
           "using the language of the Kominers' report," I'm
           making it quite clear that I think that is particular
           to him. And in fact quite clearly I say that the
           artistic point of Rothschild is to deny that
           distinction, in a sense. That sentence is partly
           meant to show the distinction is not accurate.
           And it's in the language of the Kominers' report;
           it isn't something that exists outside of the
           Kominers' report.



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                                       of Dr. Blake Gopnik 2
                            Q. Your report states that you have argued in
                            The Times that the artistic potential of art-only
                            NFTs is close to nonexistent.

                            Q. Is that correct?

                            A. That parenthesis is oversimplifying my
                            argument in The Times. I would need to explain
                            at some length what I mean by "art-only NFTs."
                            That is a very, very distilled version of my
                            argument in The Times.

                            Q. So what do you mean by "art-only NFTs"?

                            A. NFTs that consistent -- NFTs are very
                            complicated. NFTs that point only to images and
                            are considered only insofar as those images
                            represent the entire NFT are not interesting as
                            works of art.

                            (Gehman Decl., Ex. 10 at 85:21-87:20.)

“‘Business Art’ practice    Commercial ambition is not discussed directly in    Even after they had long-since “emerged” as artists,
requires its maker to       the report or the deposition.                       Rembrandt, Edvard Munch and of course Andy
actively and very visibly                                                       Warhol were all aggressive profit-seekers at the
engage in real business     Q. I'm referring you to an exchange that begins     same time as they made great art — and some
activities”                 on Rothschild8419 and continues on to the next      aspects of their great art, and of its greatness, relate
                            page. I'll start with messages from Rothschild to   directly to their commercial ambitions. In
                            Mark Design. At the middle of 8419 Rothschild       particular, a Business Art practice in the Warhol
                            says, Let me know what you think about for          tradition, such as Mr. Rothschild’s, requires its


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           compensation as well. Next message: This could        maker to actively and very visibly engage in real
           be a huge product -- project. Mark Design             business activities in order for that maker’s
           replies, Let's go with the percentage after sale as   commentary on business and art, and the business
           I am too busy to even think about a number. XD        of art, to be most potent and convincing — and to
           -- I imagine that's an emoji. All right. I cleared    be perplexing and even confusing as well, in the
           my schedule for three days. Let's print some          great tradition of modern art. (Gopnik Decl. at ¶ 18)
           money. Does that statement, "let's print some         (ECF No. 80).
           money," indicate to you in any way whether this
           is a business art project?

           A. No, it tells me nothing one way or the other.

           Q. And why is that?

           A. Because all artists want to make money off
           their work, so it could be an incredibly dull
           painting of a seascape or it could be the most
           interesting avant-garde video business art
           project. The fact someone wants to make money
           off of it tells me nothing.

           MR. SPRIGMAN: Okay. Jerry, I just want to
           note for the record before we leave that the "let's
           print some money" appears to be a statement
           from Mark Design to Mason Rothschild. Did
           you suggest otherwise?

           MR. FERGUSON: Yes. I thought I made that
           clear.



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                          MR. SPRIGMAN: No.

                          Q. That statement, "let's print some money,"
                          was from Mark Design to Mason Rothschild.
                          Does that change your answer?

                          A. I had thought it was the opposite.

                          Q. Okay.

                          A. Let me think if it changes. Only to say that
                          everyone wants to print some money. In this
                          case Mark Design would like to make some
                          money. I would also like to make some money. I
                          don't think that tells you anything about much of
                          anything in the case of anyone doing anything.

                          (Gehman Decl., Ex. 10 at 251:10-253:8.)

Titles of Warhol’s work   Topic of how Rothschild sought input on the         In fact, like most artists in history, Warhol left the
                          naming of MetaBirkins was not in the report.        vast majority of his other works without formal
Titles of unnamed                                                             titles; the ones that we now use were given by
artists’ work             “At its most basic, the title “MetaBirkins” does    dealers or collectors or later art historians, and in
                          what titles in art most commonly do: It indicates   fact exist in multiple, conflicting versions for
                          the subject of the artwork.” (Corrigan Decl., Ex.   certain works. In general, the public (and,
                          34 at ¶ 36.)                                        apparently, Plaintiffs’ counsel) vastly overestimates
                                                                              the significance of the titles they see attached to
                                                                              artworks; those, like the titles of Warhol’s pictures,
                                                                              often have little or no links to the artists
                                                                              themselves. In my decades of close contact with


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                                                                                   artists, I have found that when they do choose to
                                                                                   title a work (they very often prefer the contentless
                                                                                   title, “Untitled”) many of them do so quite casually,
                                                                                   at the last minute before an exhibition or sale,
                                                                                   merely so that the work can be told apart from
                                                                                   others in reviews or on a price list. (Gopnik Decl. at
                                                                                   ¶ 11) (ECF No. 80).

Rothschild choosing title   “[b]ut the prefix ‘meta-‘ in Rothschild’s title also   And I note that, in the case of Mr. Rothschild, of all
                            fulfills another, possibly more important              the titles available or proffered by others, the one
                            function. It tells an informed viewer that the         that he did choose to use is properly minimal, in the
                            interest we are supposed to take in the Birkin         heart of the tradition of titles in fine art: It merely
                            that Rothschild has labelled ‘meta’ comes from a       designates the content of Mr. Rothschild’s images
                            larger comment it makes, rather than from its          (that they are a riff on the famous Birkin bag) and
                            mere virtues as a depiction of a fancy purse.”         adds a further and apposite descriptor (“meta”) to
                            (Corrigan Decl., Ex. 34 at ¶ 39).                      make that designation more accurate, while also
                                                                                   helping to distinguish his artworks from the
                            “[t]his has been one standard use of the prefix        commercial product commonly known as a Birkin.
                            ‘meta-’ for several decades: A painting that           (Gopnik Decl. at ¶ 12) (ECF No. 80).
                            repeats a famous work from the past, such as the
                            Mona Lisa, counts as a ‘metapainting’: It takes a
                            distant look at the meaning and history of how
                            artists have used paint; it doesn’t aim simply to
                            be a fine painting in its own right. ‘Metafiction,’
                            a common category in contemporary literature,
                            similarly scores its points by talking about the
                            nature and function of fiction; it doesn’t aim to
                            tell a gripping tale about compelling characters.
                            The name ‘MetaBirkins’ therefore tells us,
                            among other things, that we should read the


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                            image it comes attached to as an attempt to make
                            a larger comment on the nature of the Birkin
                            bag—and therefore on the nature of elite
                            commodity culture. The combination of the
                            prefix ‘meta-’ with the brand name ‘Birkin’ tells
                            us that we’re dealing with more than the latest
                            fancy object labeled ‘Birkin,’ such as the
                            Hermès company might release on its own
                            behalf. It tells us to take a step back and
                            contemplate what Birkin-ness really means to
                            our society.” (Corrigan Decl., Ex. 34 at ¶ 39.)

Performative element of     Rothschild “chose the title from many different     If anything, the fact that Mr. Rothschild did draw
“Business Art”              options presented to him, some of which would       his social circle’s attention to his desire to title his
                            have come from his own mind and some not,”          work — as he surely did not have to do, given the
Rothschild interacting      (Gehman Decl., Ex. 10 at 109:8-22.)                 minimal title he eventually chose — indicates his
with the larger public                                                          interest in situating his “MetaBirkins” in a social
                            Performative element of Business Art was never      context, as is typical or even necessary for a fine
                            raised in the report or the deposition.             work of Business Art. The genre itself is all about
                                                                                the interactions that occur between artists, their
                                                                                work, and a larger public; Business Art, that is, has
                                                                                always had a notably performative element (it is
                                                                                “relational,” to use the term of art), and Mr.
                                                                                Rothschild’s visible and enthusiastic interactions
                                                                                with his public, including in the act of titling his
                                                                                work, should be seen as one of his art supplies.
                                                                                Andy Warhol, Mr. Rothschild’s most significant
                                                                                predecessor, behaved in notably similar ways; art
                                                                                historians regard that behavior — Warhol’s
                                                                                engaging of a wide social circle in the creation and


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                                                                               dissemination of his works and ideas — as one of
                                                                               his most important contributions to modern art.
                                                                               (Gopnik Decl. at ¶ 13) (ECF No. 80).

Rothschild’s relationship Mark Berden is not discussed in the report.          Plaintiffs’ concerns about the technical assistance
with Mark Berden                                                               rendered to Mr. Rothschild by Mark Berden are as
                          Master Raphael is not discussed in the report or     misplaced as their concerns about Mr. Rothschild’s
Master Raphael            deposition.                                          titling, and for similar reasons. As I made very
                                                                               plain to Plaintiffs’ counsel during my deposition,
Andy Warhol’s              Q. A number of those documents you reference -      my study of the relevant communications between
assistants                 - in fact, I believe most if not all of them --     Mr. Rothschild and Mr. Berden revealed that, in the
                           involve communications with Mr. Rothschild          creation of Mr. Rothschild’s “Metabirkins,” the two
                           and Mark Design?                                    men were filling the standard roles of creator and
                                                                               skilled digital technician, having precisely the
                            A. Yes, that's right.                              interactions one would expect between such
                                                                               figures. It is beyond commonplace for
                           Q. And do you have an understanding of the role
                                                                               contemporary artists to engage a team of specialist
                           of Mark Design in creating the MetaBirkin
                                                                               fabricators, programmers and skilled assistants to
                           images associated with MetaBirkin NFTs?
                                                                               complete all but their least ambitious projects; no
                           MR. SPRIGMAN: Objection.                            one creator could have all the skills required in
                                                                               today’s technically complex art world — and
                           A. Yes, his role in the production of them, I'd     especially when digital imagery, such as Mr.
                           say.                                                Rothschild’s, is involved. Indeed, such teamwork
                                                                               was already standard from the time of Renaissance
                           Q. And what was his role in production?             master Raphael, with his vast and varied creative
                                                                               staff, right up to the assistant-filled studio of Andy
                           A. Well, I'd have to look at them in detail. He     Warhol. In all these cases, old and new, the artist at
                           seemed to play several different roles. He was in   the head of a project would ask and pay for input
                           a rich, collaborative relationship. He was          and advice from the professionals he or she had
                                                                               hired, as they came to engage with the subject


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                        functioning as a high-level studio assistant.        matter and imagery at issue and with its technical
                        That's what studio assistants do.                    realization. It would in fact be bizarre for an artist
                                                                             to ignore the input of such skilled collaborators —
                        (Gehman Decl., Ex. 10 at 244:12-245:5.)              just as it would be bizarre for judges to ignore the
                                                                             input of their clerks, or for lawyers to reject the
                                                                             thoughts of their paralegals, although such input
                                                                             from subordinates would not indicate any
                                                                             diminished responsibility for the final decision-
                                                                             making in a trial or lawsuit. In seeking assistance,
                                                                             input and advice from Mr. Berden, Mr. Rothschild
                                                                             was not relinquishing his role as creative artist; he
                                                                             was fulfilling it in the most standard and indeed
                                                                             responsible way. (Gopnik Decl. at ¶ 14) (ECF No.
                                                                             80).

Wearable                Birkin bags are bought by a rarefied class of        Plaintiffs have suggested that, merely by deploying
                        people who can afford such conspicuous               a realistic reference to the Birkin handbag in his
Consumer confusion      moments of consumption. Rothschild’s NFT’d           artistic comment on it, Mr. Rothschild has
                        “MetaBirkins” are meant to mimic this economic       somehow created confusion with the actual,
                        aspect of the real-world bags they depict—in         physical handbag. In so suggesting, Plaintiffs make
                        much the same way, in fact, that a more              the unlikely, almost unbelievable assertion that the
                        traditional artistic depiction points to something   “wearable” real-world handbag made by Hermes —
                        of interest by mimicking its appearance. As          from the finest of real-world hides and textiles, as
                        Rothschild put it in an interview, since Birkin      the company likes to insist — might, or would
                        bags are fundamentally about “showing off”           probably, be confused with the entirely imaginary
                        extreme wealth, NFTs that fetch “crazy amounts       (and fur-covered) “MetaBirkins” handbag that
                        of money” have a similar status.18 The               could, in some wearer’s imagination, be “worn”
                        particular combination of Rothschild’s               and “used” in the metaverse. Having written an
                        production of NFTs, and the way they reference       entire Oxford PhD that was centrally concerned
                        the Birkin bags of Hermès, allows Rothschild to      with the philosophy and psychology of pictorial


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           make an important artistic point about the way           representation, I am pleased to reassure Plaintiffs
           that our society—including the art world—is              that viewers of such representations are reliably
           dominated by high-status goods. (Corrigan                skilled at distinguishing real and represented worlds
           Decl., Ex. 34 at ¶ 34).                                  — in fact, it is only because of that distinction that
                                                                    pictorial representations achieve their full meaning
           Q. What is the functional distinction between a          and function. Their function is to reference reality,
           work of art and a nonwork of art?                        that is, not to replace it; if I may be permitted to
                                                                    wax philosophical for a moment, that is in fact what
           A. Objects -- or let's say images, just as               it means for something to represent. Of necessity,
           shorthand, if you don't mind. Images can have            every successful representation thus shares certain
           all sorts of functions. When an image is                 features with the subject it represents, and could
           functioning in a very practical sense just to            thereby function as a stand-in for that subject, at
           provide information, for instance, or for that           least in the imagination of at least one observer.
           matter to clothe the body in an attractive way,          That does not mean that no representations ought to
           that is not -- I prefer to use the word fine art.        be permitted, lest confusion reign between objects
           That's not an example of fine art. But then there        and their depictions. No one tries to walk into
           are objects whose goal is not functional, whose          Vermeer’s “View of Delft,” much as that great
           goal is to make us think about the nature of             painting might seem to invite it; no one (I hope)
           things like dresses, to make us think about the          tries to caress the “flesh” of Michelangelo’s David.
           everyday instantiations of those same objects.           And no sane observer will attempt to use Mr.
           It's essentially philosophical practice, that art is a   Rothschild’s digital representations of absurdist,
           philosophical practice, a meta practice, and other       fur-covered “MetaBirkins” in any of the ways that a
           objects, other images, other objects are                 real Birkin bag might be used, either as a useful
           functional objects within our world. Sorry.              carrier for a wallet and keys or as a bearer of social
                                                                    status. (Gopnik Decl. at ¶ 16) (ECF No. 80).
           Q. If an object is functioning to provide status, is
           it -- is that a functional use?




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                       A. You just defined it as function. Yes, if it's
                       doing a job, then it's functional.

                       Q. Okay. If someone purchases an item to
                       provide status, is that a functional use?

                       A. I would say that it was.

                       (Gehman Decl., Ex. 10 at 172:11-173:14.)

Utilities              Many living artists who achieved success before        Plaintiffs also seem to imply that because the NFTs
                       the age of NFTs have been doing their best to          for Mr. Rothschild’s images come with certain
                       embrace NFTs as a new medium for marketing             “utilities” attached, that somehow detracts from his
                       themselves and their work.5 It would be strange        status as an artist and from the artistic status of his
                       for them not to embrace the full range of              creations. Yet the kinds of opportunities offered by
                       marketing opportunities, including digital             those utilities — to be a member of a social
                       “utilities,” that Kominers sees as restricted to his   community built around “MetaBirkins”; to have
                       so-called “digital brands.” Any artist who             early access to subsequent artistic projects by Mr.
                       restricts his or her digital engagement to an “art-    Rothschild; to participate in special events
                       only” space, as Kominers suggests some do, has         organized by him (although, contra Plaintiffs,
                       simply failed to take advantage of the marketing       evidence suggests he never did hold properly
                       options that NFTs present. Some of the projects        “gated” events for his “MetaBirkins”) — all of
                       that Kominers classes as “digital brands,” such        these are perfectly normal aspects of traditional
                       as the NFTs of the Bored Ape Yacht Club,6 are          artistic practices. It is absolutely standard, for
                       in fact widely discussed in the context of NFT         instance, for collectors of an early project by a
                       art. As quoted in the supplement to the Kominers       painter to be given privileged access to subsequent
                       report, Rothschild speaks of the advantages that       bodies of work. (You might easily call that an
                       come with building a sense of community                unstated but understood “utility” that comes with
                       among the members of his art’s digital                 the purchase of that artist’s work.) And it is almost
                       audience—in knowing “who your core fans are,”          a cliché that collectors buy an artist’s works partly


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                            and interacting with them “on a daily basis, like,   for the social access that gives them to the artist and
                            you know, in seconds” 7—and in doing that he is      his or her circle — for the specifically social
                            simply doing what any smart artist ought to do in    “utility” that comes with the purchase. (In private,
                            the age of NFTs. He is not in any way signaling      artists have often complained to me about the social
                            that he is entering some other non-art domain of     duties that come with sales.) The selling and buying
                            “branding,” as Kominers suggests he is—              of works of art has always involved “utilities,” of
                            Rothschild couldn’t make such a switch if he         one kind or another, that have little to do, in any
                            wanted to, because no such separate domain has       immediate way, with the properly artistic qualities
                            ever existed. (Corrigan Decl., Ex 34 at ¶ 37.)       of those works. In being sold with explicit
                                                                                 “utilities” associated with them, Mr. Rothschild’s
                                                                                 NFT’d images are not much different from more
                                                                                 traditional works whose associated “utilities” are
                                                                                 left implied. (Gopnik Decl. at ¶ 9) (ECF No. 80).

Opining on Plaintiffs’      Gopnik admits he is opining on the Summary           In closing, let me say that I have read Plaintiffs’
summary judgment            Judgment papers.                                     summary judgment papers, and none of the
papers                                                                           arguments and claims in them makes me any less
                                                                                 certain that Mason Rothschild’s “MetaBirkins”
                                                                                 images, in tandem with the NFTs to which they are
                                                                                 associated, make up a clearly artistic project, in the
                                                                                 established tradition of Andy Warhol’s Business
                                                                                 Art. (Gopnik Decl. at ¶ 18) (ECF No. 80).




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